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Jeffrey C. Wishko, WSBA #12885 Honorable Karen A. Overstreet
Anderson Hunter Law Firm, P.S. Chapter 7
2707 Colby Avenue, Suite 1001

P. O. Box 5397

Everett, WA 98206-5397

Telephone: (425) 252-5161

Email: jwishko@andersonhunterlaw.com

Attorneys for Herbert Young dba Kornerstone Enterprises

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
In Re: No. 10-10-222-KAO

TONKKA TRUCKING AND
EXCAVATING, LLC

 

PETER ARKISON, solely in his capacity as
chapter 7 trustee of the estate of Tonkka
Trucking and Excavating LLC,

Adversary No. 12-01040

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) | NOTICE OF APPEARANCE, REQUEST
Plaintiff, ) © FOR MATRIX ENTRY, AND

) | REQUEST FOR SERVICE OF NOTICE

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V. AND DOCUMENTS

KORNERSTONE ENTERPRISES,
And

HERB YOUNG and JANE DOE YOUNG,
husband and wife and the marital community
composed thereof,

Defendants.
)

 

 

 

TO: DENICE E. MOEWES, Attorney for Chapter 7 Trustee;
TO: PETER ARKISON, Chapter 7 Trustee;

TO: U.S. TRUSTEE'S OFFICE; and

TO CLERK OF THE COURT

ANDERSON HUNTER LAW FIRM, P.S
NOTICE OF APPEARANCE, REQUEST FOR 2707 COLBY AVENUE, SUITE 1001, P.O, BOX 5397

EVERETT, WASHINGTON 96208-5397

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Pursuant to Fed. R. Bankr. P. 9010(b), the undersigned appears for and on behalf of
Herbert Young, dba Kornerstone Enterprises, in this case.

The undersigned requests, without waiver of objections to venue, that an entry be
made on the Clerk's matrix master mailing list in this case and that all notices, given or
required to be given, and all documents, served or required to be served, in this case, be
given to and served upon the persons set forth below, in addition to any current

matrix/service address for Herbert Young, dba Kornerstone Enterprises:

Jeffrey C. Wishko

Anderson Hunter Law Firm, P.S.
P.O. Box 5397

Everett, WA 98206-5397

The foregoing request includes not only the notices, papers, and pleadings required
to be served by applicable Bankruptcy Rules, but also includes, without limitation, all
orders, notices, hearing dates, applications, motions, petitions, requests, complaints,
demands, replies, answers, Schedules of Assets and Liabilities, Statements of Financial
Affairs, whether transmitted or conveyed by mail, courier service, delivery, telecopier, e-
mail, ECF, or otherwise, and whether directed to parties-in-interest, generally or
specifically. This request applies to documents served both before and after the last date

upon which a proof of claim may be filed.

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DATED this 26 ‘day of February, 2012.
{D.

ANDERSON HUNTER LAW FIRM, P.S.
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By ey
Jeffrey C. Wishko, WSBA #12885
Attofneys for Herbert Young, dba

Koyherstone Enterprises
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ANDERSON HUNTER LAW FIRM, P.S

NOTICE OF APPEARANCE, REQUEST FOR 2707 COLBY AVENUE, SUITE 1901, BOX 5387
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DECLARATION OF SERVICE
I, Kimberly K. Rooney, do hereby declare under penalty of perjury under the laws
of the State of Washington that on the J6h, day of February, 2012, this document was

served, by the method set forth below, upon parties of record listed below:

Denice E. Moewes Via ECF email
Attorney for Chapter 7 Trustee

Peter Arkison Via ECF email
Chapter 7 Trustee

Office of the US Trustee Via ECF e-mail

Signed at Everett, Washington this WG day of February, 2012.

bod, 2 ferme

Kimberly ¥f Rooney

 

ANDERSON HUNTER LAW FIRM, P.S.

NOTICE OF APPEARANCE, REQUEST FOR 2707 COLBY AVENUE, SUITE 1001 PO. BOX 5387
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